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                              IN THE UNITED STATES DIS RICT COURT
                                FO THE EASTERN DIST IC OF TEX S
                                        EXARKANA DIVISION
 BILLY T ACY #999607, §
                                              §
       Petitioner,                         §
                                           • § CIVIL CTION O. 5:20-c.v-156
v.                              §
                                              § JUDGE MICH EL J. RUNC E
 DIRECTO ,                DCJ-C'ID, §
                                              § DEATH PE ALTY
      Respondent, §

             PRO SE MOTION TO SUBSTI U E COUNSEL UNDER 18 U.S.C, § 3599

      .Here comes before the Court Petitioner Mr. Billy Tracy seeking substitute counsel
 to replace Mr. Ryan Ge tz due to a complete l ck of adequ te represent tion & failure -?
 to commu icate w/ me his client. This Court appointed r. Gertz on the 21st day of October
2020. Since Mr. Gertb-Was appointed, I have repeatedly attempted to co respond with .
hi by m il & by e-m il via my signific nt other( Yolanda de Kruijff). he following
is a reco d of said co espondences & hethe o not I received a eply fro Mr. Ge tz.:

Letters sent by USPS m il:
Nove be 1, 2020 - Mr. Gertz replied on Nove ber 24, 2020
December 1 , 2020-                 .. Ge tz       eplied on Janua y 8, 2021 ' ' .
February 8, 2021 - NO REPLY
May 3, 2021 - NO REPLY
May 13, 2021 - NO REPLY

Letters sent by e-mail:

May 3, 2021 - Mr.„Ge tz replied ith         very dismissive "I don't kno if I ecei ed
                   BiliysRletter" reply.


      Upon further investigation of Mr. Gertz work history, it was discove ed th t he
has no experience in C iital cases befo e being appointed to y case. Listed on Mr.
Gertz's o m website is the following "PRAC ICE RE S":

Federal Cases: White Collar Crimes, IRS investigatins, SEC Defense     tters, Corpo ate
F aud Defense, Securities F aud, Conspir cy, Mail/Wire/Bank Fr udy Bankruptcy F aud,
Tax Fraud, Tax and Securities INvesti ations, Antitrust Violations, Health Ca e F aud,
Enviro ental Violations, I migration Fraud, Custo s Violations,- C iminal Antitrust Violations
Goverment/ il/Wire,-Fraud, Bribery, E bezzlement.


State Cases: D ivin While Intoxicated(D l), Computer Crimes, Theft(Shopliftin , Bnployee
theft), Possession of dru s/Controlled subst nces, Carrying a weapon in a estricted



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area , Assault(family violence), Aggravated Assault, Intoxication Assault, Sexual Ass ult,
  grava ed Sexual Ass ult, Indece cy with a child, Ju enile Murder, Intoxication Mans laugh te
Negligent                      Homicide.                      .......         ....      ..




      Furthermo e, according to Guideline 10.2 of the "State Bar of exas Guidelines
& Stand ds fo Te as C pital Counsel"(A o ted by the State Ba Bo d of Directo s April
21, 2006)...Mr. Ge tz has. NOT met the guidelines listed in sections A-C. The uidelines
are as follows:


A. Counsel at ll stages of the .case should .make every propriate ef ort to establish
a relationship of t ust w/ the client, & should maintain close contact w/ the client.
Mr. Gertz sent me at.letter a couple of weeks afte being ppointed letting e know he
was y la yer & said he'd contact me once he evie ed the reco . He ne r contacted
me o discussed anythin w/ e at all after that pert ining to my case!

       1. Barrin exceptional circumstances, the client should be contacted w/in 24 hou s
of initial counsels entry into the case, w/ full & cdmplete interviews of the client "
to be conducted assoon as pr ctically possible.
Mr. Gertz has NO conducted any such interviews w/ me!

      2. Pro ptly upon entry into the case, initial counsel should communicate ip an
app opri te anner w/ both, the client & the overnment re rdin the .p otection of the
client's rights against self-incri ination, to the effective assistance of counsel, &
to p eservation of the ttorne -client privilege & similiar safeguards.
 r. Gertz has OT communicated w/ e at all about this!

B. Counsel at .all stages of the case; should re-ad ise the client & the ove nment re a din
these matters s pp opri te.
 r. Gertz has NOT ad ised me of anything wh tsoever!

C. Counsel t all st ges of the case should en age in continuing interactive dialo ue
w/ the client concerning all atters that might reasonably be expected to h ve a mate ial
impact on the case, such as:
      1. the pro ress.:of:&:-prospects fo the factual investig tion, & what assistance
the client might provide to it;
  . Gertz has NOT ske me about any prospects dr how I can assist him in any way:!
     2. current d potenti l legal issues;
 r Gertz has NOT ad ised me/asked me/p upd ted me on any current or potential l al
issues!                                                                         -
     3. the d velo ment of     defense theory;
 r; Gertz has NOT advised me of anythin whatsoeve !
       . presentation of a defense case;
 r. Gertz has OT advised me of nything wh tsoever!
     5. potential a reed-upon dispositions of the case;
Mr Gertz &7.I h ve NO agreed upon anythin    h tsoever!
     6. litigation de dlines & the projected schedule of case-related events;

                                            2
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Mr Gertz has NOT info med e of any such deadlines case- elated!
   ¦ 7. relevant aspects of the client's relationship w/ correctional, parole o other
governmental agents(e.g., prison medical rovidersco state, psychiatrist). .¦
Mr Gertz h s OT informed e of any such aspects he has looked in.;to!


      The Motion fo A pointment       Counsel(Dkt.#l) that resulted in the appoint ent
of M . Gertz on the 21st day of Octobe , .2020...also DENIED appointment of Ms. Jennifer
Merrigan. Ms. er igan has extensi e expe ience.in Ca ital cases & showed a willingness
to ep esent e in my feder l h beas p oceedin s. The following is a list of s. Me rig n's
extensive e perience in Capital litig tion:

                s. Merri n h s epresented eople facing sentences of
               death & ife w/o'ut parole for firteen years. He trainin
               & background      e in c pital itigation, & she has been
                ppointed & has consulted in state & federal habe s corptis,
                re- uthorization, & t ial cases as      itigation specialist
               & as counsel. Sh is a for er staff tto ney & Actin
               Director of thewDeath Pe alty Litig tion Clinic, a non ¬
               prof it l   firm in Kansas City, Missouri. Ms. Merrigan
               is an adjunct p ofessor a S int Louis University Law
               School & Washington University School of L w, here she
               founded & teches a death penalty clinical    acticum.
               She has presented at dozens of 'national conde ences on
               capital.'mitigation & litig tion & has written seve al
               law review articles on capital defense. She hel ed research
               & develo the Su plemental Guidelines for the itigation
               Function of Defense. eams in De th Pebnalty Cases,36
               Hofst a L. Rev. 677(Spring 2008). She received the 2010
                issouri ssociation of C i inal Defense La yer's "Atticus
               Finch Award" for he advocacy & the 2011.

 s. er i an is immensely much better qualified to re resent e than M . Gertz is, as
he credentials reflect.


      I have representational rights that Con ress enacted & the procedural i.safegua ds
that the Supreme Court has developed specific lly for the Capital context. See 18 U.S.C.
§ 3599(explaining::.the statute was enacted due to "the seriousness of the possible penalty
&...the unique & complex nature of the liti ation.1: ); see also Clair, 132 S.CCt. at 1284-
85 (discussing the "enhanced i hts of ep esentation" in such se ious cases '"reflect
a determin tion that qualify le al representation is necessary in all capital proceedings


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 to foster 'fundamental fairness in the imposition of the death en lty. '" (quo ting McFarland
v. Sdbtt,512 U S. 84 . 55( 994)).


      Furthermo e, 28 U.S.C. § 2251 ex ressly uthorizes "feder l courts to stay state
court p oceedings ' or any matte involved in the h beas corpus proceedin s,McFa land,
 512 U.S. at 858). And the Supreme Court demonst ated in Ch isteson, a federal court h s
 urisdiction to enter   st y(of h beas proceedin s) whe a-a death-sentenced individual
has filed   §3599 otion seeking substitute counsel because ap ointed counsel's conflict
of interest w/ the client. r. Gertz's failu e to eet the basic standa ds & guidelines
for Texas capit l counsel has cre ted     patent conflict w/ me, culminating in me seeking
to dismiss Mr., Gertz & substitute him w/ s. Merrigan.


      In ddition, BOTH Mr. David R. Dow & Mf. Jeffrey R. Newberry ha e sho m       willingness
to be co-counsel to Ms. Merrigan. By the provisions of 18 U.S.C. §3599(a)(2) See. cFarland
v. Scott, 512 U.S. 849, 955 58(1994)...1 am entitled to a'second counsel. lso, §3599
co els a cou t to appoint new counsel if "the interest of justice" require.Ibid,(quotin
Ma tel v., Clai , 565 U.S. f_,132 S. Ct. 127 .; 1284, 182 L.Ed.2d 135(2012),; I am
a re th t the Fifth Circuit decided Mendoza v. Ste hens, 783 F.3d 203(5th Cir.2015),.
& Speer'v. Stephens, 78i'::F.3d 784(5th Cir.2015), hich presented the question .whether
state, prisoners hose federal-habeas counsel represented them in state-habeas proceedings
are entitled to substitute or supplemental counsellunder §3599 because "it would be a ¦
conflict'of interest for [them] to no   eter ine .whether [their] state conduct was ineffectiv
for ur oses of vindicating their, clients' ri hts unde Martinez & revino.Speer, 781
F.3d at 785. In both cases, the Court e anded the cases to the district court & ordered
the appoint ent of supplemental counsel to investigate whether the petitioner could establis
c use & prejudice to ove come the procedu al default of any ne IATC clai s under-Martinez -•
& Trevino. Judge Owen, filin a sepa ate concurrence in Mendoza, found that the ppoi tment
of substitute o supple ental counsel was required by the Supreme Cou t's earjr er opinions
in Christeson & Martel v. Clair, 132 S. Ct. 1276, 1286(2012), in which the Supreme Court
held that "even in the absence of [§3599], a court would h e to ensure that the defend nt's
statutory right to counsel was satisfied throughout the litigation; for instance, the
court would have to appoint new counsel if the first la yer developed      conflict / . ..the
client." Mendoza, 783 F.3d t 206-07(0wen, J., concurring). In S eer, the Fifth Ci cuit
found that §35 9 counsel w s conflicted "in the sense that eve y la yer charged to examine
the perform nce of counsel is conflicted in that task when the perform nce is his own."Ibid.
I hereby for e ly WAIVE ny claims Of IAC(ineffective assistance of counsel) that ay
a ise by r. David . Dow being appointed to represent e in federal habeas roceedings.


     Lastly, I -.invoke Rule 1.15 of the Texas ules of Disciplinary Conduct hich states:

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 Rule 1.15
         (a) A l wyer sha l decline to represent client o , here e esentation h s commenced
              sh ll withdraw, except s stated in pa agraphTc), from representation of a client,
               if:
         (3) the la ye is discharged, ith or without good c use.
 Under this Rule, discharged is MANDATORY! I invoke this Rule respectfully.


        WHEREFO E, Petitioner respectfully requests that this Court discharge Mr. Gertz
& appoint as substitute counsel Ms. errigan. Petitioner also respectfully equest that
 this Court p oint as co-counsel either (or both) Mr. Da id R. Do , & M . Jeffrey . Newberry.
 DATED: July 11, 2021




                                                       Polunsky Unit
                                                       3872 EM 350 South
 Contact Info:                                        Livingston, Tx. 77351

Jennifer Merrigan
 Phillips jBla.dk.. ;y.; ¦.
i ot Sf gth s ., 501
Philadel hi '.P 19148
888.532.O987(tel)
888.543.4964(fax)
j .merrigan@ hillipsblack.org

DavidaR. Dow
Te as Bar o. 0606 900
University of Houston La Center
4604 C lhoun Rd.
Houston, Texas 77204-6060
Tel.(713) 743-2171
F (713) 743 2131
ddo Qcentral .uh. edu


Jef rey R. ewbe ry
Texas Bar o. 24060966
University of Houston Law Center
460 Calhoun Rd.
Houston, Tex s 77204-6060
Tel.( 13) 743- 843
Fax (713) 7 3-2131
j rne be central.ih.edu

cc: Jennife Merri an, D vid R. Do ,
Jeffrey . Newbe ry, RyaniGertz, & the
Honorable Judge ichael J. Truneale




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